                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                GREEN BAY DIVISION


TIMOTHY J. FAST,

              Plaintiff,

       v.                                                 Case No. 16-CV-1637

CASH DEPOT, LTD.,

              Defendant.


                                   NOTICE OF APPEAL


TO:    George Burnett
       Conway, Olejniczak & Jerry, S.C.
       231 S. Adams Street
       Green Bay, WI 54305-3200

       NOTICE IS HEREBY GIVEN that TIMOTHY J. FAST, Plaintiff in the above-named case,

appeals to the United States Court of Appeals for the Seventh Circuit from the final judgment

entered for Defendant, CASH DEPOT, LTD., on his claims under the Fair Labor Standards Act,

as amended, entered in this action on the 7th day of November, 2018.

       Dated this 3rd day of December, 2018.
                                                   WALCHESKE & LUZI, LLC
                                                   Counsel for Plaintiff

                                                   s/ James A. Walcheske                    .




                                                   James A. Walcheske, State Bar No. 1065635
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